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                             United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                       TEXARKANA DIVISION

 UNITED STATES OF AMERICA                           §
                                                    §
 V.                                                 §          CASE NO. 5:15CR18(24)
                                                    §          (Judge Schroeder)
 JAMILU WHITESIDE                                   §


               FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                    BEFORE THE UNITED STATES MAGISTRATE JUDGE

          Pursuant to 28 U.S.C. § 636(b), this matter has been referred by the District Court for

 administration of the guilty plea and allocution under Rule 11 of the Federal Rules of Criminal

 Procedure.

          On July 19, 2016, this cause came before the undersigned United States Magistrate Judge for

 guilty plea and allocution of the Defendant on Count 1 of the Indictment.        Count 1 charges a

 violation of 21 U.S.C. § 846, conspiracy to possess with intent to distribute and distribution of 500

 grams or more of a mixture or substance containing a detectable amount of methamphetamine.

 After conducting said proceeding in the form and manner prescribed by Fed. R. Crim. P. 11, the

 Court finds:

          a.      That the Defendant, after consultation with counsel of record, has knowingly and

 voluntarily consented to the administration of the Guilty Plea and Allocution in this cause by a

 United States Magistrate Judge subject to a final approval and imposition of sentence by the District

 Court.

          b.      That the Defendant and the Government have entered into a plea agreement which

 has been filed and disclosed in open court pursuant to Fed. R. Crim. P. 11(c)(2).

          c.      That the Defendant is fully competent and capable of entering an informed plea, that

 the Defendant is aware of the nature of the charges and the consequences of the plea, and that the
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    plea of guilty is a knowing and voluntary plea supported by an independent basis in fact containing
.
    each of the essential elements of the offense.

           d.      Within fourteen (14) days after receipt of the magistrate judge’s report, any party may

    serve and file written objections to the findings and recommendations of the undersigned. All parties

    have waived objections.

           IT IS THEREFORE RECOMMENDED that the District Court accept the Plea Agreement

    and the Guilty Plea of the Defendant, and that JAMILU WHITESIDE should be finally adjudged

    guilty of the offense listed above.

          SIGNED this 19th day of July, 2016.




                                                         ____________________________________
                                                         CAROLINE M. CRAVEN
                                                         UNITED STATES MAGISTRATE JUDGE




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